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               TWILIO INC., a Delaware corporation
           9

          10                               UNITED STATES DISTRICT COURT

          11                              NORTHERN DISTRICT OF CALIFORNIA

          12                                  SAN FRANCISCO DIVISION

          13   NOAH BENDER, individually and on behalf       Case No. 3:24-cv-04914-AMO
               of all others similarly situated,
          14                                                 DECLARATION OF NATALIE HEIM IN
                            Plaintiffs,                      SUPPORT OF STIPULATED REQUEST
          15                                                 FOR ORDER CHANGING TIME RE:
                     v.                                      CASE MANAGEMENT AND BRIEFING
          16                                                 DEADLINES
               TWILIO INC., a Delaware corporation,
          17                                                 Pursuant to Civ. L.R. 6-1(b); 6-1(a)
                            Defendant.
          18                                                 Dept.:     10, 19th Floor
                                                             Judge:     Hon. Araceli Martínez-Olguín
          19
                                                             Date Filed: August 8, 2024
          20
                                                             Trial Date: None Set
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                 DECLARATION OF NATALIE HEIM IN SUPPORT OF JOINT STIPULATION REGARDING DEADLINES
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           1          I, Natalie Heim, declare:

           2          1.      I am an attorney licensed to practice law in the State of California, an associate

           3   with the law firm of Keker, Van Nest & Peters LLP, and am counsel for Defendant in the above-

           4   captioned action. I have personal knowledge of the facts set forth herein, and if called upon as a

           5   witness thereto, could do so competently under oath.

           6          2.      I provide the following disclosure of previous time modifications in the above-

           7   captioned action pursuant to Civil Local Rule 6-2(a)(2): The Parties have stipulated to one prior

           8   deadline extension, granting Twilio an additional thirty days to respond to Bender’s complaint.

           9   Dkt. No. 15. On August 9, 2024, the Court set deadlines concerning the initial case management

          10   conference (“CMC”) and the deadline to meet and confer under Federal Rule of Civil Procedure

          11   26(f) (“Rule 26(f) Conference”). Dkt. No. 4. The Court ordered the Parties to hold a Rule 26(f)

          12   Conference by October 28, 2024, and to make initial disclosures by November 11, 2024. Id. On

          13   August 23, 2024, the Court revised the CMC deadlines, setting the deadline for the parties to file

          14   initial CMC statements for November 7, 2024, and setting the CMC for November 14, 2024, but

          15   the Court did not change any other dates provided in the original scheduling order. Dkt No. 9.

          16   On October 17, 2024, the Court further revised the initial CMC deadlines, setting the deadline for

          17   the parties to file initial CMC statements for November 6, 2024, and setting the CMC for

          18   November 13, 2024, but did not change any other dates provided in the original scheduling order.

          19   Dkt. No. 18.

          20          3.      I provide the following disclosure regarding the reasons for the requested

          21   enlargement of time and describe the effect the time modifications would have on the schedule

          22   pursuant to Civil Local Rule 6-2(a)(1),(3): On October 15, 16, and 17, 2024, I met and conferred

          23   with counsel for Plaintiff Noah Bender to set dates related to briefing on Twilio’s Motion to

          24   Dismiss Complaint (“Motion to Dismiss”) and Motion to Compel Individual Arbitration

          25   (“Motion to Compel”), and to discuss the CMC-related deadlines. During those conferrals,

          26   Plaintiff’s counsel, Schuyler Ufkes, informed Twilio’s counsel that he will be serving on jury

          27   duty until approximately November 6, 2024. In light of that obligation and given there are two

          28   motions, the Parties agreed to a lengthened briefing schedule that also took into account counsels’

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           1   upcoming travel plans and the Thanksgiving holiday. Based on those considerations, the Parties

           2   agreed to extend Bender’s deadline to file his Oppositions to November 27, 2024, and Twilio’s

           3   deadline to file its Replies to December 20, 2024, subject to the approval of the Court.

           4          4.      The Parties also agreed to notice the hearing on both Motions for January 23,

           5   2024, in light of Section B of Judge Araceli Martínez-Olguín’s Civil Standing Order, which

           6   requests that hearings be noticed at least four weeks after the close of briefing, as well as the

           7   Christmas and New Years holidays.

           8          5.      Based on the agreed-upon hearing date, the Parties agreed, subject to the Court’s

           9   approval, to extend the Rule 26(f) Conference deadline to two weeks after the hearing on

          10   February 6, 2025; to extend the deadline to file the CMC statement to four weeks after the

          11   hearing on February 20, 2025; to extend the deadline for of the initial disclosures to February 20,

          12   2025; and to set the date for the CMC to five weeks after the hearing on February 27, 2025 or any

          13   date thereafter that is Convenient for the Court. Counsel took into account the Court’s

          14   Scheduling Notes indicating Chambers would be closed from February 17-21, 2025, in setting

          15   these dates. These continuances will promote judicial economy and conserve party resources by

          16   deferring the initial CMC until after the hearing on Twilio’s dispositive motions.

          17          6.      These deadline extensions will not affect any other deadlines set by the Court other

          18   than those described above.

          19          I declare under penalty of perjury under the laws of the United States that the foregoing is

          20   true and correct. Executed on October 18, 2024, at San Francisco, California.

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          23                                                            NATALIE HEIM

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                 DECLARATION OF NATALIE HEIM IN SUPPORT OF JOINT STIPULATION REGARDING DEADLINES
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